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Exhibit 7
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MISSISSIPPI RIVER - GULF OUTLET, LOUISIANA

~ CONDITION OF IMPROVEMENT, 30 SEPTEMBER 1997

AUTHORIZATION: The project was authorized by the River and Harbor Act of 1956, the
' Water Resources Development Act of 1976, and the Water Resources Development Act of 1986.

. PROJECT: The plan of improvement consists of four basic items: (1).a completed channel —
extending from the Inner Harbor Navigation Canal to the minus 38-foot contour in the Gulf of
Mexico; (2) completed jetties and dikes along the channel in Breton Sound; (3) a new lock with
connecting channels is pending a decision to initiate construction; however, planning for the new
lock is continuing and (4) foreshore protection along the north and south side of the ship channel
extending form the Inner Harbor Navigation Canal to the end of the hurricane protection levee. .

LOCAL COOPERATION: Assurances of local cooperation of items 1, 2, and 4 above were
furnished by the Board of Commissioners of the Port of New Orleans and were accepted on
behalf of the United States on 29 August 1957. The Board of Commissioners executed amended
assurances covering the provisions of the Uniform Relocations Assistance and Real Property
Acquisition Policies Act of 1970, Public Law 91-646, which were accepted on behalf of the
United States on 21 April 1975 for the new lock. Supplemental assurances reflecting the changes
made necessary by enactment of the Water Resources Development Act of 1976 were requested
on 11 September 1978. By letter of 18 September 1978, local interests stated that they could not
respond to our requests because plans for the lock at the Inner Harbor Navigation Canal site were
in a very preliminary stage. In November 1983, the Board of Commissioners was informed of
the selected plan and its costs, including their share, based on traditional cost sharing. By letter
of 17 February 1984, the Board stated that it could not support the plan at that time because of
the uncertainty of cost sharing and the financial situation of the State of Louisiana. However, by
letter dated 11 February 1985, the Governor of Louisiana provided the necessary assurances to
proceed with the coordination of an appropriate course of action for public involvement and to
process the Evaluation Report. The public involvement program was initiated consistent with
the Evaluation Report schedule. The final Evaluation Report was submitted to Higher
Authorities on 3 April 1997 and is scheduled for Final Approval in December 1997. The project
is recommended construction new start for FY 99. The Shiplock will be cost shared in
accordance with the provisions of Section 844 of the Water Resources Development Act of 1986,
PL 99-662.

PROGRESS: Work on the channel was initiated 17 March 1958. The construction of the ~
channel is completed and is maintained at a depth of 36 feet. The extension of the Southwest
Jetty to mile 14.8 is completed. The foreshore protection along the north side of the Inner Harbor
Navigation Canal and the south side of the MRGO from Bayou Bienvenue to the end of the
hurricane protection levee is complete. The remaining foreshore protection is on hold until the
need arises. The existing lock was completed in 1923, by non-Federal interests, and had been
leased by the Federal Government since 1944, On I July 1986, the lock, adjacent
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MISSISSIPPI RIVER - GULF OUTLET, LOUISIANA

CONDITION OF IMPROVEMENT, 30 SEPTEMBER 1997
(continued)

land, and facilities were purchased from the Board of Commissioners of the Port of New Orleans
for $3,800,000. By purchasing the lock, the Corps received fee title to the lock and
appurtenances with operation and maintenance responsi-bility for the St. Claude and Florida
Avenue Bridges transferring to the Board of Commissioners of the Port of New Orleans. A
General Re-evaluation Report is presently being prepared for a new lock and connecting
channels. The final site and size for the new lock have not been determined. The report is
scheduled for completion in 1995.

Access Channel (28 by 149 feet), G.IL.W.W. to Breton Sound 27 Mar 61
Interim Channel (36 by 250 feet), Paris Road to

Gulf of Mexico 5 Jul 63
Project Channel (36 by 500 feet) . .

Inner Harbor Navigation Canal to Vicinity of Paris Road 7 May 59

Vicinity to Paris Road to Mile -9.4 14 Mar 65 .
Turning Basin (Vic. Mile 66.0) and appurtenant work is
physically complete 22 Jul 65
Plug at Paris Road Removed . “20 Jan 68
High Level Bridge (Louisiana State Highway 47), initiated .
1 June 1964 completed 14 Nov 67
Removal of Pontoon Bridge at Paris Road initiated
24 July 1967 completed 22Sep67
Retention Dikes: .
Shell Core and RipRap (both dikes) ) 26 Aug 61
Capping (both dikes) ) to Mile 20.2 29 Oct 62
Rockfacing (both dikes) ) 3 Nov 63

Extension of southwest jetty to Mile 14.8 (Sta. 2700). Ist Phase, completed. Remaining jetty
across Breton Sound not yet started because the cost cannot be justified. A 3.5 mile reach of —

foreshore protection was completed on
19 February 1993 as directed by Public Law 102-104, August 17, 1991, Energy and Water

Development Appropriation Act of 1992.

4 Prefabricated steel survey towers and 25 timber pile
station markers — 23 Jun 61

3 Concrete survey towers and 25 timber pile station markers 24 Jul 61
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Channel maintained at 36 foot depth
COST: Federal $640,000,000

Non-Federal $124,000,000
Total Project $764,000,000

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